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                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF CONNECTICUT


JACK MONTAGUE                                          :
                                                       :
       Plaintiff                                       :                 CIVIL ACTION NO.:
                                                       :                 3:16-CV-00885-AVC
vs.                                                    :
                                                       :
YALE UNIVERSITY, ET AL                                 :
                                                       :
       Defendants                                      :                 JUNE 24, 2019


                         STIPULATION OF VOLUNTARY DISMISSAL

       Pursuant to Fed. R. Civ. P. 41, the plaintiff and defendants hereby stipulate that this case may

be dismissed with prejudice, each side to bear its own costs and fees.


THE PLAINTIFF,                                         THE DEFENDANTS,
JACK MONTAGUE,                                         YALE UNIVERSITY, ET AL.

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                                       CERTIFICATION

        I hereby certify that, on the above-written date, a copy of the foregoing was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this filing
will be sent by e-mail to all parties by operation of the court’s electronic filing system or by mail to
anyone unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties
may access this filing through the court’s CM/ECF System.



                                                                      /s/
                                                                Patrick M. Noonan




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